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    In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                         No. 19-0534V
                                        UNPUBLISHED


    JESSE LLOYD,                                            Chief Special Master Corcoran

                        Petitioner,                         Filed: September 3, 2020
    v.
                                                            Special Processing Unit (SPU);
    SECRETARY OF HEALTH AND                                 Ruling on Entitlement; Concession;
    HUMAN SERVICES,                                         Table Injury; Influenza (Flu) Vaccine;
                                                            Shoulder Injury Related to Vaccine
                       Respondent.                          Administration (SIRVA)


Jerome A. Konkel, Samster, Konkel & Safran, S.C., Milwaukee, WI, for Petitioner.

Lisa Ann Watts, U.S. Department of Justice, Washington, DC, for Respondent.

                                   RULING ON ENTITLEMENT1

       On April 11, 2019, Jesse Lloyd filed a petition for compensation under the National
Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.2 (the “Vaccine
Act”). Petitioner alleges that he suffered a left shoulder injury related to vaccine
administration (“SIRVA”) due to an influenza (“flu”) vaccine administered to him on
November 9, 2017. Petition at ¶¶ 1-19. The case was assigned to the Special Processing
Unit of the Office of Special Masters.

       On September 3, 2020, Respondent filed his Rule 4(c) report in which he concedes
that Petitioner is entitled to compensation in this case. Respondent’s Rule 4(c) Report at
1. Specifically, Respondent states that “DICP has concluded that petitioner suffered a
SIRVA of the left shoulder as defined by the Vaccine Injury Table. Specifically, petitioner

1
  Because this unpublished ruling contains a reasoned explanation for the action in this case, I am required
to post it on the United States Court of Federal Claims' website in accordance with the E-Government Act
of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic Government
Services). This means the ruling will be available to anyone with access to the internet. In accordance
with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact medical or other information,
the disclosure of which would constitute an unwarranted invasion of privacy. If, upon review, I agree that
the identified material fits within this definition, I will redact such material from public access.
2
  National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease
of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. § 300aa
(2012).
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had no recent history of pain, inflammation, or dysfunction of his left shoulder; the onset
of pain occurred within 48 hours after receipt of an intramuscular vaccination; the pain
was limited to the shoulder where the vaccine was administered; and, no other condition
or abnormality, such as brachial neuritis, has been identified to explain petitioner’s left
shoulder symptoms.” Id. at 6-7. Respondent further agrees that Petitioner suffered the
residual effects of his condition for more than six months and has therefore satisfied all
legal prerequisites for compensation under the Vaccine Act. Id.

       In view of Respondent’s position and the evidence of record, I find that
Petitioner is entitled to compensation.

IT IS SO ORDERED.

                                  s/Brian H. Corcoran
                                  Brian H. Corcoran
                                  Chief Special Master




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